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                                  4                           IN THE UNITED STATES DISTRICT COURT

                                  5                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      CENTER FOR BIOLOGICAL                         Case No. 17-cv-05685-MMC
                                         DIVERSITY,
                                  8
                                                      Plaintiff,                       ORDER DENYING DEFENDANT’S
                                  9                                                    MOTION TO STAY
                                                v.
                                  10                                                   Re: Dkt. No. 53
                                         CHARLTON H. BONHAM,
                                  11
                                                      Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is defendant Charles H. Bonham’s Motion to Stay, filed

                                  14   December 18, 2018. Plaintiff Center for Biological Diversity has filed opposition, to which

                                  15   defendant has replied. The matter came on regularly for hearing on January 25, 2019.

                                  16   Sarah D. Van Logh of the California State Attorney General’s Office appeared on behalf

                                  17   of defendant; Kristen A. Monsell appeared on behalf of plaintiff; and Glen H. Spain

                                  18   appeared on behalf of intervenor-defendants Pacific Coast Federation of Fishermen’s

                                  19   Associations and Institute for Fisheries Resources.

                                  20          Having considered the parties’ respective written submissions and the arguments

                                  21   of counsel at the hearing, the motion is, for the reasons stated on the record at the

                                  22   hearing, hereby DENIED.

                                  23          IT IS SO ORDERED.

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                                  25   Dated: January 25, 2019
                                                                                               MAXINE M. CHESNEY
                                  26                                                           United States District Judge
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